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                         17                     UNITED STATES DISTRICT COURT FOR THE
                         18                        CENTRAL DISTRICT OF CALIFORNIA
                         19                                                          )   Case No.: 15-cv-5346-CJC-E
                         20     T.P., et al.,                                        )
                                                                                     )   PLAINTIFFS’ EVIDENCE
                         21
                                                Plaintiffs,                          )   PACKET IN SUPPORT OF
                         22                                                          )   OPPOSITIONS TO
                         23             v.                                           )   DEFENDANT’S MOTIONS FOR
                                                                                     )   SUMMARY JUDGMENT
                         24     WALT DISNEY PARKS                          AND       )
                         25     RESORTS U.S. INC.,                                   )   Date: November 23, 2020
                                                                                     )   Time: --:-- p.m.
                         26                     Defendant.                           )   Hon. Cormac J. Carney
                         27                                                          )   Courtroom: 9B
                                                                                 /   )
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                                 Plaintiffs’ Evidence Packet in Support of Oppositions to Defendant’s Motions for Summary Judgment
                                 T.P., et al. v. Walt Disney Parks & Resorts US, Inc.                          Case No. 15-CV-5346-R
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                          1           TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
                          2    RECORD:
                          3           PLEASE TAKE NOTICE THAT Plaintiffs V.L.B., S.L.B., K.A.C., J.L.C.,
                          4    Y.Z. and M.Y.R. (“Plaintiffs”) respectfully submit this their evidence in support
                          5    of their oppositions to Defendant Disney’s Notice of Motion and Motion for
                          6    Summary Judgment on V.J.B.’s and S.L.B.’s Claims [D. 435], Notice of Motion
                          7    and Motion for Summary Judgment on K.A.C.’s and J.L.C.’s Claims [D. 436],
                          8    and Notice of Motion and Motion for Summary Judgment on Y.Z.’s and M.Y.R.’s
                          9    Claims [D. 437].
                         10           True and correct copies of the following documents have been attached
                         11    hereto.
                         12           1.      Declaration of M.Y.R. in Opposition to Defendant’s Motion for
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                         13    Summary Judgment of Y.Z.’s and M.Y.R.’s Claims (Exhibit “A”). An application
                         14    to file an unredacted copy under seal is submitted herewith.
                         15           2.      Declaration of J.L.C. in Opposition to Defendant’s Motion for
                         16    Summary Judgment of K.A.C.’s and J.L.C.’s Claims (Exhibit “B”). An application
                         17    to file an unredacted copy under seal is submitted herewith.
                         18           3.      Declaration of S.L.B. in Opposition to Defendant’s Motion for
                         19    Summary Judgment of K.A.C.’s and S.L.B.’s Claims (Exhibit “C”). An application
                         20    to file an unredacted copy under seal is submitted herewith.
                         21           4.      Excerpts of the Deposition of J.L.C (Exhibit “D”). An application to
                         22    file an unredacted copy under seal is submitted herewith.
                         23           5.      K.A.C.’s and J.L.C.’s Answers to Defendant’s First Interrogatories
                         24    (Exhibit “E”). An application to file an unredacted copy under seal is submitted
                         25    herewith.
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                                 Plaintiffs’ Evidence Packet in Support of Oppositions to Defendant’s Motions for Summary Judgment
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                          1           6.      V.J.B.’s and S.L.B.’s Answers to Defendant’s First Interrogatories
                          2    (Exhibit “G”). An application to file an unredacted copy under seal is submitted
                          3    herewith.
                          4           7.      V.J.B.’s and S.L.B.’s Answers to Defendant’s Second Interrogatories
                          5    (Exhibit “H”). An application to file an unredacted copy under seal is submitted
                          6    herewith.
                          7           November 3, 2020                               Respectfully Submitted,
                          8
                          9     DOGALI LAW GROUP, P.A.                             ARIAS, SANGUINETTI, STAHLE
                                                                                   & TORRIJOS, LLP
                         10      /s/Andy Dogali
                         11     Andy Dogali                                        Eugene Feldman
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                          1
                                                            CERTIFICATE OF SERVICE
                          2
                                      I HEREBY CERTIFY that on this 3rd day of November 2020 a true and
                          3
                               correct copy of the foregoing was filed and served on all counsel of record by
                          4
                               way of the Court’s CM/ECF filing system.
                          5
                          6                                                     /s/ Barbara U. Uberoi___
                          7                                                     Barbara U. Uberoi
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